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                                   RESPOND TO SYRACUSE
                                         OFFICE




                                                    February 9, 2022

Judge Randolph M. Moss
United States District Court
E. Barrett Prettyman Courthouse
333 Constitution Avenue, NW
Washington D.C. 20001

      RE:    United States v. Eric Bochene, 1:21-cr-00418

Dear Judge Moss:

      I apologize on behalf of Ms. Eve and I for the tardiness of this status report.
Newly discovered evidence has emerged, and this material, without any further
context, appears substantial enough that the government and undersigned counsel
have agreed to pause plea negotiations until more information can be produced to
defense counsel. We will update the Court as soon as both parties have had the
opportunity to fully investigate this issue.


                                               Respectfully,

                                               LISA A. PEEBLES
                                               FEDERAL PUBLIC DEFENDER

                                               By: /s/ JOHN J. GILSENAN
                                               Asst. Federal Public Defender




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cc:   Ms. Anita Eve, Esq., AUSA
      VIA ECF




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